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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

  AMERICAN ASSOCIATIONS OF
  UNIVERSTIY PROFESSORS, ET AL.,

                                           Plaintiffs,   No. 1:25-cv-10685-WGY
  v.

  MARCO RUBIO, in his official capacity as
  Secretary of State, and the DEPARTMENT OF
  STATE, ET AL.,

                                       Defendants.


            DEFENDANTS’ MOTION TO CLARIFY JULY 9 BENCH RULING

       Defendants respectfully ask this Court to clarify its order of July 9 as to whether it pertains

to their motion to reconsider its determination that the Government waived certain privileges. See

Exh. A. Motion to Reconsider, Dkt. # 190. The Court gave its July 9 instructions in the context of

its discussion on the package of six in camera documents it ordered the Government to produce.

See July 9, 2025, Tr.at 81. Defendants do not understand the Court’s order concerning privilege to

extend beyond that package of documents to include other documents in the Government’s June 11

in camera submission, because doing so would be contrary to the Court’s order declining, after full

briefing from the parties, to order the Government to disclose those documents. See Exh.A, Motion

to Reconsider at 4; See Am. Ass’n of Univ. Professors v. Rubio, No. CV 25-10685-WGY, 2025 WL

1796322, *1 (D. Mass. June 30, 2025), Dkt. # 174 (denying the motion to compel). It would also

be inconsistent with the Government having properly invoked critical privileges, including

assertion of the Presidential Communications Privilege in its June 11 in camera submission, and

then by providing a White House declaration formally invoking the privilege in response to

Plaintiffs’ Motion to Compel. See Exh. A at 4-6. See United States v. Zolin, 491 U.S. 554, 568-569

(1989) (holding that providing privileged materials
                                                 1 in camera does not have the legal effect of
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terminating the privilege).

       The Government needs clarity on the breadth of the Court’s July 9 bench ruling to confirm

whether the Court has found the Government to have waived properly invoked privileges in the

first in camera submission. This is because a finding of waiver of weighty privileges like the

Presidential Communications Privilege, will require rapid review within the Government, including

the White House and the Office of the Solicitor General, to determine whether to petition the Court

of Appeals for mandamus and move for an emergency stay.


Respectfully Submitted,

 BRETT A. SHUMATE                                 WILLIAM KANELLIS
 Assistant Attorney General

 DREW C. ENSIGN                                   Ethan B. Kanter
 Deputy Assistant Attorney General                ETHAN B. KANTER
                                                  Chief, National Security Unit
                                                  Office of Immigration Litigation
                                                  Civil Division, U.S. Department of Justice
                                                  P.O. Box 878, Ben Franklin Station
                                                  Washington, D.C. 20001

                                                  PAUL F. STONE
                                                  Deputy Chief, National Security Unit
                                                  Office of Immigration Litigation
 Dated: July 9, 2025
                                                  Counsel for Defendants




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                            MEET AND CONFER CERTIFICATION

       In accordance with Local Rules 7.1(2) and 37.1, the parties previously met and conferred

concerning these documents as they were already the subject of Plaintiffs June 24 Motion to

compel.


                                   CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing.



Date: July 9, 2025                                            By: Ethan B. Kanter
                                                              ETHAN B. KANTER
                                                              Chief, National Security Unit
                                                              Office of Immigration Litigation
                                                              P.O. Box 878, Ben Franklin Station
                                                              Washington, D.C. 20001




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